     Case 2:23-cv-00859-GW-SK Document 139 Filed 06/21/24 Page 1 of 2 Page ID #:3188




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                                   UNITED STATES DISTRICT COURT
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                                  CENTRAL DISTRICT OF CALIFORNIA
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8     Alameda Healthcare and Wellness            )   No. CV 23-859-GW-SKx
      Center, LLC, et al.,                       )
9                                                )   STANDING ORDER RE SUMMARY
                         Plaintiff(s),           )   JUDGMENT MOTIONS
10                                               )
                   v.                            )
11                                               )
      All American Healthcare Services, Inc., et )
12    al.,                                       )
                                                 )
13                       Defendant(s).           )
                                                 )
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            1.     You are instructed to read and to follow the requirements in Fed. R. Civ. P. 56 and
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      Central District of California Local Rules 56-1 through 56-3.
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            2.     A moving party who files a reply/response to an opposition to a motion for summary
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      judgment (where the opposing party has filed a “Statement of Genuine Disputes”) shall file a
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      “Response to Statement of Genuine Disputes” using the format delineated below. Said Response
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      will include each initially designated uncontroverted fact (and supporting evidence), and, if the
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      opposing party has raised a dispute to the moving party’s fact, the moving party’s response (and
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      any supporting evidence) to rebut the opposing party’s contentions. For example:
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23     Moving Party’s Uncontroverted Facts and          Opposing Party’s Response to Cited Fact
       Supporting Evidence                              and Supporting Evidence
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       1. The accident occurred on June 1, 2013,        1. Undisputed
25     at 1:30 p.m.
26     Evidence: Deposition of Defendant at page
       5; Declaration of Witness A at ¶ 3.
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     Case 2:23-cv-00859-GW-SK Document 139 Filed 06/21/24 Page 2 of 2 Page ID #:3189




1      2. The signal light was green in Defendant’s        2. Disputed.
       direction when she entered into the                        Immediately before the accident, the
2      intersection and immediately before                 light was green in Plaintiff’s direction and
       Plaintiff’s vehicle “ran” the red light and         Defendant ran the red light.
3      struck Defendant’s truck.
                                                           Evidence: 6/8/13 Deposition of Plaintiff at
4      Evidence: 6/3/13 Deposition of Defendant at         page 10.
       page 6.
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6      2. Moving Party’s Response
7             On Page 10 of his deposition, Plaintiff merely states that he “believes” the light was
       green when he drove into the intersection. Also, on page 12, he admits that he had
8      consumed ten bottles of beer within one hour before the accident. Further, in the police
       report prepared at the scene by Officer Green within one half hour of the accident, Plaintiff
9      admitted that he couldn’t recall if the light was green when he entered into the intersection.
       See page 3 of Police Report No. A473501, attached as exhibit 101 to Defendant’s 6/3/13
10     Deposition.
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             3.    Any evidentiary objections to materials filed in connection with summary judgment
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      motions (for which a party desires the Court to specifically make a ruling) shall be delineated in
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      a separate document (or documents) entitled "Request for Evidentiary Ruling on Specified
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      Objections." Each objection shall: (1) cite to the evidentiary item and state its precise location by
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      document name and Docket Number plus the page and line(s) where it appears, and (2) concisely
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      articulate the bases for the objection(s). Objections will only be raised as to evidence (not to
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      factual statements or factual characterizations in the opposing party's brief(s)). The Court will
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      disregard any evidentiary objection(s) that do not comply with this instruction.
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      IT IS SO ORDERED.
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24    DATED: June 21, 2024
                                                                    GEORGE H. WU
25                                                             United States District Judge
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